Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 1 of 38 PageID# 631




                 EXHIBIT F


         FILED UNDER SEAL
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 2 of 38 PageID# 632
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 3 of 38 PageID# 633
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 4 of 38 PageID# 634
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 5 of 38 PageID# 635
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 6 of 38 PageID# 636
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 7 of 38 PageID# 637
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 8 of 38 PageID# 638
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 9 of 38 PageID# 639
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 10 of 38 PageID# 640
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 11 of 38 PageID# 641
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 12 of 38 PageID# 642
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 13 of 38 PageID# 643
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 14 of 38 PageID# 644
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 15 of 38 PageID# 645
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 16 of 38 PageID# 646
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 17 of 38 PageID# 647
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 18 of 38 PageID# 648
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 19 of 38 PageID# 649
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 20 of 38 PageID# 650
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 21 of 38 PageID# 651
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 22 of 38 PageID# 652
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 23 of 38 PageID# 653
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 24 of 38 PageID# 654
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 25 of 38 PageID# 655
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 26 of 38 PageID# 656
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 27 of 38 PageID# 657
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 28 of 38 PageID# 658
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 29 of 38 PageID# 659
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 30 of 38 PageID# 660
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 31 of 38 PageID# 661
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 32 of 38 PageID# 662
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 33 of 38 PageID# 663
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 34 of 38 PageID# 664
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 35 of 38 PageID# 665
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 36 of 38 PageID# 666
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 37 of 38 PageID# 667
Case 1:19-dm-00012-AJT Document 4-8 Filed 05/15/19 Page 38 of 38 PageID# 668
